Case 8:21-cv-02429-SDM-TGW Document 85 Filed 02/11/22 Page 1 of 1 PageID 3458


                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION


    NAVY SEAL 1, et al.,

          Plaintiffs,

    v.                                             CASE NO. 8:21-cv-2429-SDM-TGW

    LLOYD AUSTIN, et al.,

          Defendants.
    ___________________________________/

                                           ORDER

          The defendants move (Doc. 81) to file under seal the unredacted versions of

    (1) the declarations appended (Docs. 81-1, 81-2) to the motion and (2) “additional

    documents . . . including the initial requests, recommendations, and decisions.” The

    motion (Doc. 81) is GRANTED. The defendants must file the items TODAY,

    FEBRUARY 11, 2022, under seal and must certify service on the plaintiffs.

          To review the additional documents, to preserve the status quo, to permit a

    reasonable time to resolve the issues addressed at the February 10, 2022 hearing, and

    for other good cause shown, the present interim injunctive relief (Doc. 67) is

    EXTENDED through FEBRUARY 18, 2022.

          ORDERED in Tampa, Florida, on February 11, 2022.
